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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

VALASSIS COMMUNICATIONS,
INC.,
                                      Case No. _________
          Plaintiff,
v.
NEWS CORPORATION; NEWS
AMERICA MARKETING,
a/k/a NEWS AMERICA
INCORPORATED, a/k/a NEWS              COMPLAINT FOR DAMAGES
AMERICA MARKETING GROUP;              AND INJUNCTIVE RELIEF
NEWS AMERICA MARKETING                AND DEMAND FOR JURY TRIAL
FSI, LLC, a/k/a NEWS AMERICA
MARKETING FSI, INC.; and
NEWS AMERICA MARKETING IN-
STORE SERVICES, LLC, a/k/a
NEWS AMERICA MARKETING IN-
STORE SERVICES, INC.
          Defendants.
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      Plaintiff Valassis Communications, Inc. (“Valassis”) brings this action for

damages and injunctive relief under federal antitrust and state laws against

Defendants News Corporation; News America Marketing, a/k/a/ News America

Incorporated and a/k/a News America Marketing Group (“News America

Marketing”); News America Marketing FSI, LLC, a/k/a News America Marketing

FSI, Inc. (“News America FSI”); and News America Marketing In-Store Services,

LLC, a/k/a News America Marketing In-Store Services, Inc. (“News America In-

Store”) (collectively referred to as “News,” unless the context indicates otherwise).

Valassis demands a jury trial and alleges as follows:

I.            NATURE OF THE CASE

     1.       When battling a Goliath, sometimes a single stone is not enough. In

the case of one true corporate Goliath—the News conglomerate—not even a

unanimous jury verdict, a $500 million payment, and a federal court order

enjoining improper bundling and tying were enough to change its business

practices.

     2.       Instead of changing its illegal practices, News has utilized unethical,

unfair, and anticompetitive strategies to prevent Valassis from gaining a foothold

in the market for in-store advertising and promotions (“in-store promotions” or

“ISPs”) and to eliminate Valassis from the ISP market completely. ISPs are

products that place messages promoting the products of consumer packaged goods


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manufacturers (“CPGs”) in the aisle space of major supermarket, grocery, drug,

and mass merchant chain stores (collectively, “retailers”).      Examples of ISPs

include shelf coupon dispensers, shelf advertising, floor advertising, and shopping

cart advertisements.

      3.       News also continues to engage in the same unethical, unfair, and

anticompetitive schemes that were the subject of Valassis’ earlier litigations in

order to maintain its ill-gotten dominance of the free-standing inserts or “FSI”

market. FSIs are booklets of coupons which are delivered directly to consumers’

homes containing primarily coupons for products manufactured by CPGs.

II.            PREVIOUS LITIGATION

      4.       On July 23, 2009, a Michigan jury unanimously found that News

America Marketing, News America FSI, and News America In-Store (collectively,

“News America”) had engaged in unfair competition and tortiously interfered with

Valassis when News America leveraged its ISP dominance to coerce CPGs to

purchase FSIs from News America rather than Valassis.            The jury awarded

Valassis $300 million in damages.

      5.       Before a federal trial challenging News’ conduct under federal

antitrust laws, News America agreed to pay Valassis $500 million and signed a

ten-year shared mail distribution agreement with Valassis to settle the claims.




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       6.        On June 15, 2011, Judge Arthur J. Tarnow entered an order (Case No.

06-10240, Dkt. #412) (the “Order”) prohibiting the parties from engaging in

unlawful bundling and tying of any products.

       7.        The Order established the legal standard for determining if a party had

unlawfully bundled or tied the sale of one product to the purchase of a second

product.

       8.        The Order also established a three-member expert antitrust panel to

assist the court in evaluating practices relating to bundling and tying under the

antitrust laws.

       9.        The Order only applies to unlawful bundling and tying and not to

other violations of the Sherman Act, the Clayton Act, or state antitrust laws, or to

claims of tortious interference and unfair competition.

III.             NEWS’ POST-SETTLEMENT UNLAWFUL CONDUCT

       10.       In November 2009—following the jury verdict, but before the

settlement—Valassis and SuperValu Inc. (“SuperValu”) announced that Valassis,

rather than News, would place ISPs in SuperValu’s grocery aisles starting May 1,

2010.

       11.       Shortly thereafter, Winn-Dixie Stores, Inc. awarded Valassis a

contract for the placement of ISPs in Winn-Dixie’s aisles starting July 2010.




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    12.       Undeterred by the $500 million settlement and alarmed by Valassis’

modest incursion into News’ ISP monopoly, News employed a variety of unfair

and anticompetitive schemes designed to prevent Valassis from gaining any

significant foothold in the ISP market.

    13.       News’ conduct is anticompetitive and tortious and is actionable under

Sections 1 and 2 of the Sherman Act, 15 U.S.C. §§ 1 and 2; Section 3 of the

Clayton Act, 15 U.S.C. § 14; Sections 2 and 3 of the Michigan Antitrust Act,

M.C.L. §§ 445.772 and 445.773; the Cartwright Act, Ca. Bus. & Prof. Code §§

16720, 16726 and 16727; the California Unfair Practices Act, Ca. Bus. & Prof. Code

§§ 17043, 17044, 17070, and 17071; the common law of tortious interference with

business relationship or expectancy; the common law of tortious interference with

contract; and the common law of unfair competition.

              A.    Schemes Used in the ISP Market

    14.       Specifically, News’ unethical, unfair, and anticompetitive strategies in

the ISP market with respect to retailers include the following:

              (a)   Requiring retailers to enter into long-term, exclusive contracts
                    with staggered expiration dates;

              (b)   Requiring retailers to give News contracts with rights-of-first-
                    refusal that obligate retailers to contract with News for newly-
                    developed ISPs;

              (c)   Prohibiting retailers from contracting with Valassis for ISP
                    products even though News does not produce a comparable or
                    substantially similar ISP; and

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             (d)    Giving predatory and economically unjustified cash guarantees
                    to retailers.

     15.     News’ unethical, unfair, and anticompetitive schemes in the ISP

market with respect to CPGs include:

             (a)    Employing long-term, exclusive, right-of-first-refusal and
                    requirements contracts with CPGs;

             (b)    Coercing CPGs to extend those contracts to make them
                    effectively exclusive for five to ten years or more;

             (c)    Preventing CPGs from utilizing the retailer network of News’
                    competitors; and

             (d)    Increasing the ISP prices charged to CPGs that purchase their
                    FSIs from Valassis.

     16.     News’ unethical, unfair, and anticompetitive schemes in the ISP

market with respect to retailers include:

             (a)    Refusing to remove its ISPs from retailers that no longer
                    contract with News;

             (b)    Placing its ISPs at retailers’ stores that are under contract with
                    Valassis;

             (c)    Removing Valassis’ ISP tactics at stores under contract with
                    Valassis; and

             (d)    Misrepresenting the breadth of News’ retailer network.

     17.     News’ strategies foreclosed a substantial amount of competition in the

ISP market and have prevented Valassis from being able to obtain a critical mass

of retailers at which Valassis can place its ISPs.


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    18.       Without a critical mass of retailers, Valassis’ ISPs are not a viable

alternative to News’ ISPs.

    19.       News’ strategies have increased Valassis’ costs to operate in the ISP

market, damaged Valassis’ business and reputation, artificially affected prices and

retailer guarantees in the ISP market, and prevented CPGs and retailers from

benefiting from ISP innovations developed by News’ competitors.

    20.       News’ strategies have restrained competition and have allowed News

to avoid competing with Valassis on price and quality of services and products,

and to avoid competing on innovations in the ISP market.

    21.       News’ strategies have allowed it to maintain its monopoly in the ISP

market.

    22.       News’ strategies are designed to eliminate Valassis from the ISP

market and to prevent any competitor, including Valassis, from gaining any

significant market share in the ISP market.

    23.       Several CPGs, including Dial Corporation1, H.J. Heinz Company2,

Henkel Consumer Goods Inc.3, Foster Poultry Farms4, Smithfield Foods Inc.5, HP

1
 The Dial Corporation (“Dial”) is a consumer packaged goods company that sells
personal care and household cleaning products under the Dial, Right Guard, Purex,
and Renuzit trademarks.
2
  H.J. Heinz Company is a consumer packaged goods company that sells food
products under the Heinz, Classico, Ore-Ida, and Lea & Perkins trademarks. H.J.
Heinz Company, L.P. is the entity contracting with News for ISPs and FSIs. They
are collectively referred to as “Heinz.”

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Hood LLC6, BEF Foods, Inc.7, and Spectrum Brands, Inc.8, recognize that News’

actions are illegal and anticompetitive, and have filed suit against News alleging

that “News’ competitors are suppressed at both ends of the chain of distribution” in

the ISP market due to News’ conduct. See Third Amended Complaint filed in The

Dial Corporation, et al. v. News Corporation, et al., filed in the United States

District Court for the Eastern District of Michigan, transferred to the United States

District Court for the Southern District of New York, Case No. 2:12-cv-15613

(“Dial Complaint”).

    24.      These CPGs confirm that “News’ competitors [like Valassis] are

contractually blocked from serving many [CPGs] and, when they do secure

accounts, their distribution is crippled” due to News’ exclusionary contracts with


3
  Henkel Consumer Goods Inc. (“Henkel”) is a consumer packaged goods
company that sells products for home care, body care, and cosmetics.
4
  Foster Poultry Farms (“Foster Farms”) is a consumer packaged goods company
that sells chicken and turkey products, including lunch meats and franks, under the
Foster Farm brand.
5
  Smithfield Foods Inc. (“Smithfield Foods”) is a consumer packaged goods
company that sells products through its subsidiary corporations, The Smithfield
Packing Company, Inc., Armour-Eckrich Meats, LLC, John Morrell & Co., Patrick
Cudahy, Inc., Curly’s Foods Inc., and Farmland Foods, Inc.
6
  HP Hood LLC (“HP Hood”) is a consumer packaged goods company that sells
products under the Heluva Good, Maggio, and Lactaid trademarks.
7
  BEF Foods, Inc. (“BEF Foods”) is a consumer packaged goods company that
sells products under the Bob Evans trademark.
8
 Spectrum Brands, Inc. (“Spectrum”) is a consumer packaged goods company that
sells products under the Black & Decker, Farberware, and Repel trademarks.


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retail chains, and that “[t]his later impairment in turn feeds back to further

disadvantage News’ competitors’ ability to sell to [CPGs] because News’

distribution network cannot be matched.” Id.

    25.       News has used its monopoly power in ISPs to charge certain CPGs

monopoly prices for ISPs, particularly those CPGs that purchase FSIs from

Valassis.

    26.       The CPGs that filed suit against News have alleged that News’

“monopoly prices are substantially higher than the competitive pricing that would

have prevailed in the absence of News’ unlawful conduct in both relevant

markets.” Id.

    27.       News’ anticompetitive conduct harms certain CPGs, the buyers of

ISPs, by raising the costs of ISPs, reducing the quality and quantity of promotions

available to them, stifling innovation, and reducing their ability to compete with

other CPGs.

    28.       News’ anticompetitive conduct also harms the ultimate consumers of

CPGs’ products by reducing consumer choices and reducing the output of ISP

coupons and advertising to consumers.

    29.       Because fewer coupons are available to the ultimate consumers, the

consumers cannot purchase CPGs’ products at lower prices, which results in

consumers paying higher prices than would exist in a competitive market.



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              B.     Schemes Used in the FSI Market

    30.       In the FSI market, News has resorted to the same schemes that a jury

previously found constituted unfair competition and tortious interference.

    31.       News has continued to leverage its monopoly in the ISP market to

coerce CPGs to purchase their FSIs from News and award News long-term,

exclusive, right-of-refusal, and requirements contracts.

    32.       News has also penalized CPGs who failed to give News their FSI

business by charging those CPGs higher ISP prices.

    33.       News’ strategies are designed to prevent Valassis from winning FSI

business, thereby preventing Valassis from materially increasing its market share

in the FSI market.

    34.       News’ strategies have allowed it to maintain its dominance in the FSI

market.

    35.       News’ anticompetitive conduct also harms the ultimate consumers of

CPGs’ products by reducing consumer choices and reducing FSI coupons and

advertising to consumers.

    36.       Because fewer coupons are available to the ultimate consumers, the

consumers cannot purchase CPGs’ products at lower prices, which results in

consumers paying higher prices than would exist in a competitive market.




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                C.    News Improperly Threatens to Sue Valassis

      37.       News improperly uses the threat of litigation to prevent Valassis from

selling its ISPs and other products.

      38.       News has threatened to sue Valassis for responding to proposal

requests submitted by a retailer.

      39.       News has also threatened to sue Valassis for efforts to sell ISPs to

retailers.

      40.       News’ litigation threats are designed to prevent Valassis from winning

business from these retailers, thereby preventing Valassis from selling its products

to retailers and from gaining a foothold in the ISP market.

      41.       News’ litigation threats have allowed it to maintain its monopoly in

the ISP market.

IV.             OTHER LITIGATION INVOLVING NEWS

      42.       Valassis has not been the only target of News’ unethical, unfair, and

anticompetitive conduct.

      43.       News America Marketing and News In-Store have been sued by other

ISP competitors, including Floorgraphics, Inc. (“Floorgraphics”) and Insignia

Systems, Inc. (“Insignia”), for News’ use of the same or similar tactics as those

alleged here.




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     44.     The conduct of News America Marketing and News In-Store has

successfully eliminated Floorgraphics from the ISP market and pigeonholed

Insignia into a niche area of ISPs.

     45.     News Corporation has also been sued twice by its own shareholders

for engaging in unethical and unfair business practices.

     46.     One of those shareholder derivative suits resulted in what is reported

to be one of the largest shareholder derivative settlements—$139 million. See In

re News Corporation Shareholder Derivative Litigation, Court of Chancery in the

State of Delaware, Case No. 6285 (filed in July 2011).

     47.     The settlement also obligated News Corporation to implement broad

and sweeping ethical changes and to implement corporate governance and

compliance procedures.

     48.     In another derivative suit, News’ own shareholders allege that News is

“engaging in illegal monopolistic practices regarding in-store promotion services

and FSIs.” Iron Workers Mid-South Pension Fund v. Keith Rupert Murdoch, et al.,

United States District Court of the Southern District of New York, Case No. 13-cv-

3914 (filed June 7, 2013).

     49.     The shareholders allege that News America acquired dominance in

FSIs and ISPs “through various wrongful acts designed to inhibit competition,

including (i) entering into long-term exclusive contracts with retailers; (ii) paying



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large economically unjustifiable cash payments to retailers to derail competitor

contracts; (iii) bundling and predatorily pricing its in-store advertising and

promotion products and services with its FSIs; . . . and (vi) even defacing

competitors’ advertisements.” Id.

     50.     The shareholders also allege that “[k]nowledge of News America’s

monopolistic practices reached the highest levels of the Company” and that “News

Corp has acknowledged that it has sought to build contract barriers to make it

difficult for its competitors to compete.” Id.

     51.     The shareholders further allege that News “still has not completely

remedied News America’s illegal business practices.” Id.

     52.     As noted above, eight CPGs have also sued News for similar unfair,

unethical, and anticompetitive conduct in the FSI and ISP markets. See Dial

Complaint.

V.           THE PARTIES
             A.    Plaintiff Valassis

     53.     Plaintiff Valassis Communications, Inc. is a Delaware corporation

with its headquarters and principal place of business located in the City of Livonia,

County of Wayne, and State of Michigan.




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            B.     Defendant News Corporation

    54.     Defendant News Corporation is organized under the laws of Delaware

with its headquarters and principal place of business located in New York, New

York.

    55.     It does business throughout the United States, including the Eastern

District of Michigan.

    56.     News Corporation is the parent company of Defendants News

America Marketing, News America FSI, and News America In-Store.

    57.     News Corporation is a multi-national media conglomerate with total

assets as of March 31, 2013 of approximately $68 billion and total annual revenues

of approximately $35 billion.

    58.     On June 28, 2013, News Corporation separated its publishing and

media/entertainment businesses into two separate, publicly traded companies—

21st Century Fox and News Corp.

    59.     The events giving rise to Valassis’ claims took place before, and

continue after, News Corp.’s separation from 21st Century Fox.

    60.     The strategies discussed above were devised, developed, funded, and

ultimately approved by News Corporation through its executives, including Rupert

Murdoch.




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            C.      Defendant News America Marketing

    61.     Defendant News America Marketing is a Delaware corporation with

its principal place of business located in New York, New York.

    62.     It does business throughout the United States, including the Eastern

District of Michigan.

    63.     News America Marketing is the marketing arm and subsidiary of

News Corporation.

    64.     It has the responsibility of managing the sale of ISPs and FSIs through

Defendants News America In-Store and News America FSI.

    65.     News America Marketing, through its Chairman and Chief Executive

Officer Paul Carlucci, among others, collaborated with News Corporation to

devise, develop, and implement the strategies used, as described above, to win

business from CPGs and retailers and to harm Valassis.

            D.      Defendant News America In-Store

    66.     Defendant News America In-Store is a Delaware corporation or

limited liability company with its principal place of business located in New York,

New York.

    67.     It does business throughout the United States, including the Eastern

District of Michigan.

    68.     Its products and services include ISPs.


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             E.    Defendant News America FSI

      69.    Defendant News America FSI is a Delaware corporation or limited

liability company, with its principal place of business located in New York, New

York.

      70.    It does business throughout the United States, including the Eastern

District of Michigan.

      71.    Its products and services include FSIs.

VI.          JURISDICTION AND VENUE

      72.    This Court has subject matter jurisdiction under 28 U.S.C. §§ 1337

(commerce and antitrust regulation), 1331 (federal question), and 1367

(supplemental jurisdiction) as this case arises under Sections 1 and 2 of the

Sherman Act, 15 U.S.C. §§ 1 and 2; Sections 3, 4, and 6 of the Clayton Act, 15

U.S.C. §§ 14, 15(a), and 26; Sections 2 and 3 of the Michigan Antitrust Reform

Act, M.C.L. §§ 445.772 and 445.773; the Cartwright Act, Ca. Bus. & Prof. Code

§§ 16720, et seq.; California Unfair Practices Act, Ca. Bus. & Prof. Code §§ 17043,

17044, 17070, and 17071; the common law of unfair competition; and the common

law of tortious interference with contracts and business relations and expectancies.

      73.    Venue is proper pursuant to 28 U.S.C. § 1391(b) and (c); Sections 4

and 12 of the Clayton Act, 15 U.S.C. §§ 15 and 22; and M.C.L. § 445.775.




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       74.   Each Defendant has transacted a substantial amount of business in

Michigan, the conduct complained of occurred in part in Michigan, the harm

caused by News’ anticompetitive and tortious conduct occurred in substantial part

within Michigan, and Plaintiff Valassis is located in Michigan.

       75.   In addition, News America and Valassis have consented to the

continuing and exclusive jurisdiction of the United States District Court for the

Eastern District of Michigan before the Honorable Arthur J. Tarnow for

determinations as to whether News America is violating the Order entered June 15,

2011 (Dkt. # 412) in Valassis Communications, Inc. v. News America Inc., et al., Case

No. 2:06-cv-10240 (“Valassis I”).

       76.   News’ activities have been within the flow of interstate commerce of

the United States.

       77.   News’ activities were intended to and have had a substantial effect on

interstate commerce of the United States.

VII.         THE ISP MARKET
             A.      The Relevant Product Market for ISPs

       78.   ISPs consist of several products that are placed in the aisle space at

supermarket, grocery, drug, and mass merchant chain stores to promote consumer

purchases of products sold by CPGs.




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     79.       Examples of ISPs include shelf coupon dispensers, shelf advertising,

floor advertising, and shopping cart advertisements.

     80.       ISP providers contract with retailers to gain access to the retailers’

aisle space.

     81.       CPGs then contract with ISP providers for access to the retailers’ aisle

space and for the creation and placement of ISP products in the aisles.

     82.       ISPs are designed to influence the significant number of purchasing

decisions that are made while the shopper is shopping at the store or at the

“moment of decision.”

     83.       Therefore, national or regional ISPs can impact a substantial amount

of sales by affecting shopper decisions where other methods cannot.

     84.       ISPs have a number of distinctive features that leave them without a

reasonably interchangeable substitute.

     85.       ISPs are differentiated from various outside-the-store or pre- and post-

purchase promotions, including FSIs, because, among other things, they:

               (a)   Attract shopper attention at the moment of purchase decision;

               (b)   Offer intrusive, more visible advertising in a clutter-free
                     environment that the shopper must view;
               (c)   Differentiate the brand at the shelf;

               (d)   Help the shopper comparison shop;
               (e)   Do not require customer action until time of product selection;
                     and


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             (f)    Appeal to a type of shopper who is not responsive to other
                    advertising methods.

     86.     Stores that do not allow ISPs to be placed in their store are not part of

the available in-store market.

     87.     Trade promotions are different from and are not a substitute for ISPs.

     88.     Trade promotions are financial incentives offered by CPGs to

individual retail stores to induce the retailer to reduce the price of a product, to

display the product in a prominent location within the store, or to feature the

product in newspaper ads or mailings.

     89.     Whereas ISPs allow CPGs to roll out a promotional campaign

nationally, a trade promotion is limited to a single retail store and does not

duplicate the geographic reach of ISPs.

             B.     The Relevant Geographic Market for ISPs

     90.     The relevant geographic market for ISPs is the United States, and the

relevant regional sub-markets.

     91.     CPGs purchase ISPs from News and Valassis for placement within

retailers located in the United States.

     92.     News and Valassis contract with retailers for access to the retailers’

stores located within the United States.

             C.     News Monopolizes the ISP Market

     93.     News monopolizes the ISP market.


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     94.     There is no viable competitor to News in the ISP market that

possesses a regional and national retailer network comparable to News’ retailer

network.

     95.     CPGs, the purchasers of ISPs, need regional and national retail

coverage for an effective ISP campaign.

     96.     CPGs are reluctant to contract with an ISP provider unless it can offer

a national reach and has established contracts with retailers.

     97.     Without a critical mass of major national retail grocery store chains,

an ISP provider cannot effectively compete with News or maintain any significant

ISP market share.

     98.     In September 2013, News’ share of the all commodity volume

(“ACV”) of grocery, drug, and dollar stores was approximately 83%, 84%, and

61.2% respectively.

     99.     ACV represents the total annual sales volume of retailers and

quantifies the volume of products sold through retailers.

    100.     News’ retail network contains a vast majority of the major national

retail grocery store chains, which are the most significant stores in the sale of ISPs.

    101.     Major CPG’s like Dial, Heinz, Henkel, Foster Farms, Smithfield

Foods, HP Hood, BEF Foods, and Spectrum Brands, all purchasers of ISPs, agree

that News has a monopoly in the ISP market.



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    102.     According to these CPGs, “to obtain the necessary nationwide

coverage, [CPGs] have to deal with one middleman, News, the only vendor with

pervasive national access to retail chains by virtue of its exclusive contracts.” See

Dial Complaint.

VIII.        NEWS’ STRATEGIES USED WITH RETAILERS IN THE ISP
             MARKET

    103.     News employs a variety of schemes designed to block its ISP

competitors, including Valassis, from gaining access to retailers and from

obtaining a sufficient retail network of national and regional retailers.

    104.     News’ schemes enhance its market power and are a substantial barrier

to entry into the ISP market by preventing Valassis and other new entrants access

to retailers’ aisles, thereby enabling News to suppress competition and prevent new

entrants from competing in the ISP market.

    105.     News uses its monopoly power in the ISP market to keep competitors

like Valassis out of the ISP market or from being able to offer a viable alternative

to News’ ISPs.

             A.     Predatory and Economically Unjustified Cash Guarantees

    106.     News offers retailers cash guarantees in exchange for the retailer

granting News the right to place ISPs in that retailer’s stores.

    107.     As they have done in the past with other competitors, shortly after

Valassis entered the ISP market, News began offering predatory and economically

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unjustified cash payments or “guarantees” to certain retailers for aisle space for

ISPs, the relevant input, in order to prevent the retailers from awarding input

contracts to Valassis.

    108.     Retailers have informed Valassis that News’ guarantees were

economically unjustified.

    109.     For instance, retailers have informed Valassis that News admitted it

losing money based on the high guarantees that News had agreed to pay the

retailer.

    110.     Another retailer told Valassis that News is throwing money at the

retailer in order to keep the stores and thereby prevent Valassis from obtaining a

contract with the retailer.

    111.     One retailer told Valassis that News’ guarantee to the retailer was

beyond what any competitor would ever offer the retailer.

    112.     Upon information and belief, the guarantees caused News’ relevant

measure of cost of the relevant output, ISPs sold to CPGs for placement in those

retailers’ stores, to exceed the revenues generated by News in the sale of those

outputs to CPGs.

    113.     Thus, upon information and belief, the prices (the guarantees) that

News pays retailers for aisle space are predatory.




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    114.     Further, there is a dangerous probability that News, after successfully

driving out or excluding competition in the ISP market, will recoup the losses it

incurred in driving up input prices either by exercising monopsony power over the

input and forcing retailers to accept prices below the levels that would prevail in a

competitive market, and/or by exercising monopoly power in the output market

and raising output prices to monopolistic levels.

    115.     News’ cash guarantees are used to preclude competitors, like Valassis,

from obtaining a critical mass of retailers and thereby block competitors from

gaining any significant foothold in the ISP market.

             B.     Long-Term, Exclusive Contracts with Staggered Expiration
                    Dates

    116.     News requires retailers to agree to long-term contracts with overly

broad exclusivity provisions that prohibit retailers from allowing other ISP

providers from placing ISPs within the retailers’ aisles.

    117.     For example, News contracted with one retailer for ten years and

another retailer for seven years.

    118.     News forces retailers to accept contracts that make it difficult for the

retailer to terminate the contract.

    119.     For instance, many retailers can only terminate their contract with

News for cause, which is limited to a material breach of the agreement by News.




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    120.     News’ contracts also require the retailer to give News a lengthy period

to cure the breach. In some cases, a retailer must give News 60 days to cure, but

many retailers are required to give News 90 or 120 days to cure.

    121.     In at least one instance, a major national retailer can only terminate if

there is a “repeated” material breach by News. “Repeated” is defined as three or

more material breaches.

    122.     News’ contracts also contain terms that extend the length of the

contract beyond the original termination date of the contract.

    123.     As an example, many of News’ contracts give News sixty days after

the date of the contract’s termination to remove its ISP tactics from the retailer’s

stores and contain an express provision that only News—and not the retailer—may

remove News’ ISP tactics from the retailer’s stores.

    124.     News also employs automatic roll-overs, which automatically renew

the contract if the retailer does not give notice of termination six months prior to

the original termination date.

    125.     In one contract, after the roll-over becomes effective, News is allowed

to continue placing ISPs at the retailer three more months after the one-year

extension terminates, and News—and only News—is allowed to remove its ISPs

from the retailer’s stores within thirty days after the three-month period has

expired.



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    126.    News uses another scheme to block its competitors from contracting

with retailers: News intentionally staggers the expiration dates of its retailer

contracts so that in any given year nearly two-thirds of the retailers are unable to

contract with a competitor of News.

    127.    Marty Garofalo, News America’s Executive Vice President of Trade

until May 2013, said:

            The last of our four great strengths is our overall strategy
            for winning the business, and this is a multifaceted
            strategy. It . . . starts with staggered retail deals, and
            News America, we intentionally stagger the time of
            major retail deals to minimize the risk of losing a major
            number of stores in any one time period . . . . [T]his
            strategy serves to deter a major competitor from joining
            the in-store fray because they know it will take a long
            time and it would be a very hard fought drawn out
            process to develop the critical mass necessary to be
            successful in this area.

    128.    Marty Garofalo has also said:

            We also stagger the deals to prevent a large percentage of
            the network from being vulnerable at any specific point
            in time. . . . This method allows us to concentrate on our
            key negotiations. It also means that any competitor who
            wants to develop critical mass for their network would
            have to dedicate a lot of money over a considerable
            amount of time in order to break into the in-store game in
            any significant way.
    129.    Staggering long-term contracts insures that a competitor will not be

able to build a sufficiently large network of retailers to be a viable competitor to

News, thereby preserving News’ ISP monopoly.


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    130.     News’ use of long-term, exclusive contracts with staggered expiration

dates, alone or in combination with News’ other schemes, forecloses competition

for approximately 83% of the ACV of grocery stores, 84% of the ACV of drug

stores, and 61.2% of the ACV of dollar stores within the ISP market.

             C.     Right-of-First-Refusal Contracts for New Tactics

    131.     News requires retailers to enter into “right of first refusal” contracts.

    132.     These contracts require retailers to inform News of any new ISP

products developed by potential competitors, and to allow News first rights to

contract with the retailer for the exclusive rights to sell those new products at the

retailer.

    133.     One example is an ISP called the Wedge®, which is exclusively sold

by Valassis on behalf of a third party.

    134.     The Wedge® was unlike any ISP offered by News.

    135.     Specifically, the Wedge® is a motion-activated LED panel that

illuminates a CPG’s brand equity message when a consumer approaches within 10

feet and provides 180 degrees of visibility.

    136.     When News learned that Schnuck Markets, Inc. (“Schnucks”) was

considering using the Wedge®, News asserted that Schnucks was prohibited from

contracting with Valassis for the Wedge®, even though News did not have a

comparable ISP product.



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    137.     News also threatened to sue Valassis if it continued to solicit business

from Schnucks.

    138.     Valassis advised News that it was not aware of News’ purported

contract with Schnucks and that it had not encouraged or enticed the retailer to

breach any contract with News.

    139.     News nonetheless maintained its threats.

    140.     Shortly after Valassis introduced the Wedge®, News began offering a

competing product that it also called the “Wedge.”

    141.     News’ “Wedge” is a cardboard triangular promotion that does not

have a digital component.

    142.     News’ use of the trademarked term, the “Wedge,” causes confusion in

the marketplace and is an attempt to misrepresent to CPGs and retailers that News’

product is similar to or the same as the product offered by Valassis.

    143.     News prevents retailers from contracting with Valassis, even for other

types of ISPs even when News did not have comparable or substantially similar

ISP products.

    144.     For example, Valassis tried placing an ISP called the “Video Edge” at

Safeway, Inc. (“Safeway”), Ahold USA (“Ahold”), Giant Eagle, Inc. (“Giant

Eagle”), and Publix Super Markets, Inc. (“Publix”).




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    145.     Although News did not have a comparable or substantially similar ISP

to Valassis’ Video Edge, News prohibited retailers from contracting with Valassis

for the Video Edge.

    146.     Valassis also tried placing an ISP called “Pop Signs” or “Deal Pop” at

Kroger, Schnucks, Tops Markets, LLC (“Tops”), and Food Lion.

    147.     Although News did not have a comparable or substantially similar ISP

to Valassis’ Pop Signs, News prohibited retailers from contracting with Valassis

for the Price Pop.

    148.     News’ use of right-of-first-refusal clauses, alone or in combination

with News’ other schemes, forecloses competition for approximately 83% of the

ACV of grocery stores, 84% of the ACV of drug stores, and 61.2% of the ACV of

dollar stores within the ISP market.

    149.     News’ right-of-first-refusal clauses eliminate bargaining, discourage

innovation, and allow News, a monopolist in the ISP market, to free-ride and profit

from the ingenuity of its potential competitors without having to expend research

and development costs.

    150.     Right-of-first-refusal clauses result in higher overall prices in the

market and stymie innovation as competitors opt against expending resources to

develop new and better ISP products.




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IX.          NEWS’ STRATEGIES USED WITH CPGs IN THE ISP
             MARKET

      151.   News implements a variety of schemes designed to unlawfully acquire

and maintain the ISP business of CPGs.

      152.   News’ schemes prevent CPGs from awarding Valassis their business,

even if CPGs prefer Valassis as their ISP provider.

      153.   News’ schemes prevent Valassis from gaining access to CPGs and

obtaining any significant share of the CPG business.

      154.   News’ schemes foreclose competition, enhance its market power, and

are a substantial barrier to entry into the ISP market, enabling it to suppress

competition and prevent new entrants from competing in the ISP market.

             A.    Long-term, Exclusive Contracts

      155.   News requires CPGs to give News highly restrictive exclusive long-

term contracts to place the CPGs’ ISPs within retailers’ aisles.

      156.   The term of the contracts is often two, three, four or more years.

      157.   News also forces CPGs to accept contracts that make it difficult for

the CPGs to terminate their ISP contract with News.

      158.   In some cases, the contract can only be terminated for breach of

material obligations or if the CPG files bankruptcy.

      159.   In other cases, the CPG can only terminate the contract for gross

negligence or intentional misconduct by News.

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    160.     News’ contracts also require the CPG to give News a lengthy period

to cure the breach, in some instances, sixty or more days.

    161.     If the CPG terminates the contract for any reason other than an

uncured breach of contract, some contracts require the CPG to return all rebates

and signing bonuses. In some instances, News does not allow the CPG to pro-rate

the amount returned to reflect the extent the original term of the contract was not

executed.

    162.     News’ contracts also contain terms that extend the length of the

contract beyond the original termination date of the contract.

    163.     News employs automatic roll-overs, in which the contract is

automatically renewed if the retailer does not give notice of termination ninety

days prior to the original termination date.

    164.     According to Dial, Heinz, Henkel, Foster Farms, Smithfield Foods,

HP Hood, BEF Foods, and Spectrum Brands, News extends the contracts to make

them effectively exclusive for longer periods such as a decade or more, without the

CPGs seeking competitive bidding under a request for proposal process.

    165.     If a CPG does not award News a long-term, exclusive contract, News

imposes a financial penalty on the CPG through increased ISP rates.




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    166.     News’ use of long-term, exclusive contracts with staggered expiration

dates, alone or in combination with News’ other contract provisions, forecloses

competition in at least 70% to 85% of the ISP market.

             B.     Schemes to Prevent CPGs from Utilizing Valassis’ Retailers

    167.     Before Valassis entered the ISP market, News would reduce ISP rates

paid by certain CPGs if News’ retailer network decreased.

    168.     After Valassis entered the ISP market, News imposed policies that

made it economically unviable for CPGs to use another ISP provider for the

placement of ISPs at a retailer that leaves News’ network.

    169.     News will not adjust the ISP rates to reflect that its retailer network

has decreased in size or quality.

    170.     Specifically, if News loses a contract with a regional or national

retailer chain, News requires CPGs to substitute another retailer that may not be

comparable to the retailer that was lost.

    171.     The substituted retailer may have fewer stores, lower consumer sales,

and/or lack the regional or national geographic coverage desired by CPGs.

    172.     When CPGs would prefer to select stores within Valassis’ retailer

network for placement of their ISPs, they cannot do so because News’ pricing

structure effectively requires CPGs to take all or none of News’ retailer network.




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    173.       If the CPG declines to accept News’ substituted retailer, News does

not lower the CPG’s ISP price to reflect the decreased size or quality of the

substituted retailer.

    174.       By refusing to lower the ISP price to reflect the decreased size and

quality of the substituted retailer, News makes it economically unviable for a CPG

to also purchase ISPs for placement within a retailer network of News’

competitors.

    175.       News uses this pricing scheme knowing that CPGs are not in a

financial position to purchase promotions for placement in both News’ and

Valassis’ retailer networks.

    176.       News’ pricing structure prevents CPGs from contracting with News’

competitors, like Valassis.

    177.       Because of News’ monopoly power in the ISP market, CPGs are

forced to award their ISP business to News and forego their choice of ISP

providers or mix of retailers.

    178.       News’ use of long-term, exclusive contracts with staggered expiration

dates, alone or in combination with News’ other contract provisions, forecloses

competition in at least 70% to 85% of the ISP market.




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              C.     Right-of-First-Refusal Agreements for Contract Renewals

    179.      News forces CPGs to give News a right-of-first-refusal, which

obligates the CPG to offer a new contract to News when the CPG’s contract

terminates.

    180.      The right-of-first-refusal often prevents the CPG from putting its ISP

business out for bid, thereby preventing competition for the CPG’s ISP contract.

    181.      If a CPG does not award News such a right-of-first-refusal, News

imposes a financial penalty on the CPG through increased ISP rates and reduced

access to the retailers’ aisles.

    182.      News’ use of long-term, exclusive contracts with staggered expiration

dates, alone or in combination with News’ other contract provisions, forecloses

competition in at least 70% to 85% of the ISP market.

              D.     Requirements Contracts

    183.      News’ contracts obligate the CPG to purchase all or virtually all of its

ISPs from News.

    184.      If a CPG does not purchase the amount of ISPs set forth in the

contract with News, News imposes a financial penalty on the CPG through

increased ISP rates and reduced access to the retailers’ aisles.

    185.      Alternatively, News requires the CPG to extend the term of the

contract until the CPG satisfies the requirements.


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    186.     News’ use of long-term, exclusive contracts with staggered expiration

dates, alone or in combination with News’ other contract provisions, forecloses

competition in at least 70% to 85% of the ISP market.

             E.     Increased ISP Prices for CPGs that Buy Valassis’ FSIs

    187.     News uses its ISP dominance to improperly influence CPGs’

purchasing decisions in the ISP and other markets.

    188.     For example, News penalizes CPGs with higher ISP pricing if the

CPG awards all or part of its FSI business to Valassis.

    189.     Aware that CPGs need News’ ISP retailer network, News offers

certain CPGs an ISP “rebate,” an ISP “discount,” or otherwise better ISP prices in

exchange for FSI business.

    190.     Although News calls it a volume discount, “value for volume” or “value

added,” this same behavior was deemed unlawful in 2009 by a Wayne County jury.

    191.     Purchasing ISPs and FSIs together does not result in any cost or other

efficiencies that benefit CPGs, such as increased quality, significantly lower costs, or

the introduction of new or better products that would result in discounts, rebates, or

other reduced ISP pricing based on the volume of FSIs sold to CPGs.

    192.     Rather, News’ pricing practices are penalties used by News to punish

CPGs for contracting with Valassis.




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X.            NEWS’ EFFORTS TO HARM VALASSIS’ REPUTATION IN
              THE ISP MARKET

     193.     In addition to the strategies set forth above, News also uses a variety

of tricks and misrepresentations designed to mislead CPGs and retailers into

believing that Valassis’ ISPs are of inferior quality, or that Valassis is unable to

effectively implement CPGs’ ISP programs.

     194.     News’ misrepresentations and tricks harm Valassis’ reputation, cause

Valassis to incur increased costs when it has to replace ISPs or otherwise

compensate CPGs, create confusion among CPGs and retailers, harm CPGs since

News’ tactics are aimed in part at the CPGs that purchase ISPs from Valassis, and

harm retailers since News’ tactics are being implemented in part through the

retailers and at their stores.

              A.     Refusing to Remove ISPs Tactics from Retailers’ Aisles

     195.     When News loses a retailer contract to Valassis, News will not

remove its ISPs from the retailer’s aisles.

     196.     For instance, when Valassis was awarded an exclusive retailer

contract by SuperValu, News continued placing ISPs at SuperValu for six months

after SuperValu informed News that its contract was terminated.

     197.     At Associated Wholesale Grocers, Inc. (“AWG”), News was informed

that the retailer contract was terminated and that an exclusive contract had been




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awarded to Valassis, yet News continued placing its ISPs at certain stores within

the AWG network.

             B.     Removing Valassis’ ISP Products from Retailers’ Aisles
    198.     News removes Valassis’ ISPs from the aisles of retailers that have

contracts with Valassis.

    199.     For instance, a store manager at a Super Save store in Texas informed

Valassis that one of News’ representatives removed Valassis’ ISPs and replaced

them with News’ ISPs.

    200.     As another example, an agent hired by Valassis to place Valassis’

ISPs at stores informed Valassis that News had removed Valassis’ ISPs from

Harvest Fare stores located in Baltimore, Maryland.

             C.     Misrepresenting the Breadth of Its Retailer Network

    201.     News misrepresents that certain stores are part of its retailer network

when in fact they are not.

    202.     For instance, Valassis has been the exclusive ISP provider for Rite

Aid Corporation and Family Dollar Stores, Inc. since January 2013.

    203.     As of November 8, 2013, News still misrepresented on its website that

these stores are part of its retailer network.




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      204.   In July 1, 2013, News falsely represented on its website that it had

58,500 retailers in its network, when News only had approximately 52,500 retailers

in its network.

      205.   On a number of occasions, News has misrepresented to CPGs and

retailers that a certain cycle of ISPs is “owned” by News when it is actually under

contract with Valassis.

XI.          THE FSI MARKET
             A.     The Relevant Product Market for FSIs

      206.   FSIs are multi-colored promotions and advertising booklets

containing coupons that are distributed directly to consumers’ homes.

      207.   FSIs are sold by News and Valassis to CPGs.

      208.   Each booklet contains pages purchased by multiple CPGs.

      209.   The principal purchasers of FSIs are CPGs.

      210.   Because of the unique characteristics of FSIs, if the price of FSIs were

to rise, CPGs would not significantly alter their FSI strategy.

      211.   As such, FSI prices are not effectively constrained by other

promotional devices, particularly other forms of advertising.

      212.   Accordingly, there is a low cross-elasticity of demand between FSIs

and other forms of marketing, advertising, or display efforts.

      213.   FSIs target shoppers before they enter the store.



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    214.      The consumer’s decision to clip the coupon for use in shopping is

made prior to the shopping trip, and a relationship with the retailer is not required

to distribute the coupons to the shopper.

    215.      FSIs are not reasonably interchangeable with ISPs or other forms of

advertising to consumers.

    216.      FSIs and ISPs are complements but not substitutes for each other.

    217.      FSIs and ISPs are separate and distinct products, as there is demand

from CPGs for FSIs to be sold separately from ISPs, and such separate sales are

common.

    218.      FSIs are separate and distinct from ISPs and other promotional

products in numerous respects, leaving FSIs without a reasonably interchangeable

substitute.

    219.      The unique characteristics of FSIs include, but are not limited to:

              (a)   The ability to reach 60 to 74 million households weekly, or to
                    target subsets of this group, reflecting an unmatched level of
                    interest and penetration;

              (b)   An efficient distribution system, which provides an extremely
                    cost-effective way to reach a large population;

              (c)   A low cost per coupon redeemed;

              (d)   Provision of a tangible form of special product-specific offer
                    that is collected and stays with the coupon-clipper until the time
                    of purchase;
              (e)   Ability to target a particular type of buyer who prepares in
                    advance of shopping for those items that he or she intends to


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                    buy, and is thereby induced to seek out a particular item based
                    on the FSI;

             (f)    Ability to provide a sufficiently diversified collection of CPG
                    offerings that are available at a single local retail outlet for the
                    coupon-clipper; and
             (g)    No single marketing alternative accomplishes more marketing
                    objectives, which include but are not limited to the ability to:
                    increase retailer sell-in and support; drive traffic to retailer;
                    drive incremental volume to retailers and manufacturers; build
                    brand awareness, image, and equity; attract new customers to
                    the brand; and reward customer loyalty.

    220.     Moreover, the cost, reach, and effectiveness of FSIs and ISPs differ.

    221.     There are no cost justifications or savings from selling or purchasing

FSIs and ISPs together.

    222.     Thomas Leprine, who was News America’s Vice President of

Business Operations in 2009, testified that the production of ISPs is “completely

independent” of the production of FSIs.

    223.     Mr. Leprine also testified that getting more or less volume of FSIs has

no effect on the costs or efficiencies of ISPs.

    224.     Mr. Leprine also testified that selling more (or less) volume of ISPs

had no effect on the costs or efficiencies of FSIs.

    225.     Mr. Leprine also testified that there are no operating or variable cost

savings when a CPG purchases or News produces both FSIs and ISPs.




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             B.    The Relevant Geographic Market for FSIs

    226.     The relevant geographic market for FSIs is the United States, and its

regional sub-markets.

    227.     CPGs purchase FSIs from News and Valassis for delivery to

consumers’ homes in the United States.

    228.     Consumers of CPGs’ products use the FSI coupons at retailers located

in the United States.

             C.    News’ Dominance in the FSI Market

    229.     In 2012, 91% of the 305 billion coupons distributed to consumers in

the United States were distributed through FSIs.

    230.     Valassis and News sold approximately $718,365,000 worth of FSI

page volumes in 2012.

    231.     Valassis and News are the only two providers of FSIs in the United

States, between them capturing 100% of the FSI market.

    232.     News and Valassis waged a relatively even competitive battle for FSIs

until News began leveraging its ISP monopoly in 2000

    233.     During that time, the market share of Valassis and News hovered

around 50%, with one company having slightly more in some years and the reverse

happening in other years.




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    234.      Between 2002 and 2006, News’ FSI market share grew from 44% to

63%, compelling News to declare that the market was no longer a duopoly,

meaning, of course, that News had monopolized the FSI market.

    235.      News reported to its investors in June 2013 that it controls 65% of the

FSI market.

XII.          NEWS MAINTAINS ITS ILL-GOTTEN DOMINANCE IN THE
              FSI MARKET

    236.      News uses its dominance in the ISP market to make it economically

unviable for certain CPGs to give their FSI business to Valassis.

    237.      By employing a variety of schemes, News coerces certain CPGs to

purchase News’ FSIs in order for the CPG to gain access to News’ national and

regional retailer network in the ISP market.

    238.      The schemes block Valassis from gaining access to CPGs and allow

News to unlawfully maintain its ill-gotten dominance in the FSI market.

              A.    Pricing Schemes Used to Maintain News’ FSI Dominance

    239.      When CPGs consider purchasing FSIs from Valassis rather than

News, News threatens to raise the price the CPGs must pay for News’ ISP

products.

    240.      This price increase is accomplished in a variety of ways.

    241.      For some CPGs, News raises prices by “revoking” ISP “discounts”

that News had previously provided to the CPG.

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    242.      For other CPGs, News raises prices by imposing higher ISP prices as

a penalty for the CPG’s purchase of FSIs from Valassis rather than News.

    243.      Still other CPGs are told by News that the price differential between

the ISP price with an FSI contract as compared to the ISP price without an FSI

contract represents a “volume” discount.

    244.      In reality, no such volume discount exists.

    245.      For other CPGs, News offers rebates, bonuses, or free ISPs or ISP

cycles that, when factored into the FSI pricing offered to those CPGs, results, upon

information and belief, in News selling FSIs below News’ incremental costs to

produce and distribute the FSI.

    246.      When CPGs have resisted News’ economic pressure and purchased

FSIs from Valassis, News has imposed ISP pricing penalties in the hope that the

increased ISP prices would cause that particular CPG to choose News’ FSIs in the

future.

    247.      Certain CPGs prefer to award Valassis their FSI business, but News’

financial pressure prevents them from doing so and economically coerces those

CPGs to sign long-term FSI and ISP contracts with News.

    248.      There are many examples of News using its monopoly in ISPs to win

FSI business.




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    249.     One example is a CPG who reported to Valassis that News gave the

CPG a proposal that tied FSIs to ISPs.

    250.     The CPG reported that if it gave Valassis its FSI business, News

would increase its ISP rates.

    251.     The CPG also told Valassis that even if Valassis’ FSI price was lower,

it would not make economic sense to give Valassis its FSI business because of how

News’ proposal was structured.

    252.     News told another CPG that it would receive reduced pricing on ISPs

if the CPG gave News at least 75% of its FSI business.

    253.     News told one CPG that its ISP prices would increase by 20% if the

CPG no longer ran FSIs with News.

    254.     Another CPG told Valassis that, even though Valassis had a lower FSI

price, News offered more “value added” because News gave the CPG two free ISP

programs.

    255.     Yet another CPG told Valassis that its “aggressive proposal was not

sufficient to win” the CPG’s business “considering the single source advantages,”

i.e. the FSI and ISP pricing, offered by News.

    256.     An agent for another CPG reported that, since the CPG was planning

to execute both in-store and FSI campaigns this year, the in-store savings with

News outweighed the savings from using Valassis for the FSI.



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    257.    Other CPGs reported receiving “rebates” on ISPs from News when

the CPGs gave News their FSI business.

    258.    CPGs have told Valassis that it is not competitive nor could Valassis

be competitive because of News’ subsidized bundled pricing.

    259.    Another CPG said that it would buy FSIs from Valassis, but Valassis’

ISP retailer network “did not have value” and the CPG worried about the ISP

“penalty” it would be charged by News.

    260.    Yet another CPG said Valassis’ FSI rate was lower than or

competitive to News’ FSI rate, but it was “not in the ball park” when compared to

News’ overall pricing (or, as the CPG put it, “the total value based on everything

we would buy from News,” which included ISPs).

    261.    One CPG told Valassis that it wins “the battle for consultation,

analytics and [Valassis’] service model approach,” but Valassis lost on price

because News offered a “bundled” deal that included News’ ISPs.

    262.    In each of the examples above, Valassis was harmed in one of two

ways.

    263.    In many of the examples, Valassis did not win the CPG’s FSI business

even though in many cases Valassis’ FSI price was lower than News’ price.




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    264.     If Valassis did win the FSI contract, the price paid by the CPG was

lower than would have existed in a competitive market in which Valassis did not

have to compete against or match News’ in-store pricing schemes.

             B.    Long-term, Exclusive, Right-of-First-Refusal, Requirements
                   Contracts

    265.     News also uses its power over ISP pricing to obtain long-term,

exclusive right-of–first-refusal contracts with FSI customers that, in certain cases,

also obligate the FSI customer to purchase virtually all of its FSIs from News.

    266.     If the CPG does not award News a long-term, exclusive right-of-first-

refusal, requirements contract, News imposes a financial penalty on the CPG

through increased ISP rates.

    267.     As confirmed by the experiences of Dial, Heinz, Henkel, Foster

Farms, Smithfield Foods, HP Hood, BEF Foods, and Spectrum Brands, News

forces CPGs to enter into two, three, or four-year contracts that News “routinely

extends to make them exclusive for multiple additional years.”

    268.     News’ contracts also contain terms that extend the length of the

contract beyond the original termination date of the contract.

    269.     News employs automatic roll-overs, which automatically renew the

contract if the CPG does not give notice of termination ninety days prior to the

original termination date.




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    270.     In some cases, the contract is automatically renewed or extended if the

CPG fails to purchase a certain amount of FSIs during the original contract term.

    271.     In combination, News’ use of long-term, exclusive and right-of-

refusal contracts has resulted in contracts that are eight, ten, or more years in

duration.

    272.     News also forces CPGs to accept contracts that make it difficult for

them to terminate their FSI contract with News.

    273.     In some cases, the contract can only be terminated for breach of

material obligations or if the CPG files bankruptcy.

    274.     In other cases, the CPG can only terminate the contract for gross

negligence or intentional misconduct by News.

    275.     News’ contracts also require the CPG to give News a lengthy period

to cure the breach, in some instances, sixty or more days.

    276.     If the CPG terminates the contract for any reason other than an

uncured breach of contract, some contracts require the CPG to return all rebates

and signing bonuses.

    277.     In some instances, News does not allow the CPG to pro-rate the

amount returned to reflect the extent the original term of the contract was not

executed.




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    278.      News employs right-of-first-refusal contracts that give News first

rights to sell FSIs to the CPG before the CPG offers Valassis the option to sell FSIs

to the CPG.

    279.      Right-of-first-refusal contracts prevent CPGs from putting their FSI

business out for bid, thereby foreclosing competition for the CPG’s FSI business.

    280.      News’ contracts contain provisions that penalize a CPG if it places an

FSI within a Valassis FSI insert.

    281.      One penalty utilized by News is to force the CPG to pay News the

amount that News would have received had the CPG purchased the FSI from News

rather than Valassis. This results in the CPG paying twice for the same FSI

without receiving a second FSI that is distributed to consumers.

    282.      In other instances, News will “short rate” and substitute its prevailing

rate card rates for all contracted business (i.e., business contracted both before and

after the determination is made that the CPG has not provided News with a right of

first refusal).

    283.      News’ “prevailing rate card rates” are substantially higher than any

contracted rate paid by any CPG for FSIs.

    284.      News’ use of long-term, exclusive contracts with staggered expiration

dates forecloses competition in 65% of the FSI market.




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XIII.         NEWS IMPROPERLY THREATENS TO SUE VALASSIS

    285.      In addition to the above, News threatens to sue Valassis if it responds

to proposal requests from companies seeking to purchase FSIs, ISPs, or other

products from Valassis.

    286.      For example, Valassis received a request for proposal from Five

Below, Inc. (“Five Below”), a retailer, for a media plan for the 2013 holiday

season.

    287.      Upon learning that Valassis received the request for proposal, News

sent Valassis a letter threatening to sue Valassis if it even responded to Five

Below’s request for proposal.

    288.      Valassis advised that it was merely responding to a request for

proposal, that it was not aware of News’ purported contract with Five Below, and

that it had not encouraged or enticed the retailer to breach any contract with News.

    289.      News nonetheless maintained its threats.

    290.      News also threatened to sue Valassis if it continued to solicit business

from Schnucks. See ¶¶ 131-139.

XIV.          INJURY TO COMPETITION

    291.      Competition in the FSI and ISP markets is damaged by News’ illegal

conduct.




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    292.        This damage manifests itself in different ways, as described in more

detail below.

                A.    Harm to Retailers

    293.        News’ conduct harms retailers by reducing retailers’ choice and

coercing retailers to contract with News for ISP placements within the retailer’s

stores based on, among other things, the unjustifiably high and predatory cash

guarantees that News gives retailers.

    294.        These guarantees have no correlation to the revenues generated from

selling ISPs to CPGs for placement at the retailer’s stores.

    295.        Before Valassis entered the ISP market, News possessed monopsony

power in the ISP market that allowed News to purchase the relevant input,

retailers’ aisle space, at prices (or cash guarantees) that were lower than would

have existed in a competitive market.

    296.        Shortly after Valassis entered the ISP market, News began offering

retailers economically unjustified and predatory guarantees in order to prevent the

retailers from awarding input contracts to Valassis.

    297.        Upon information and belief, News’ guarantees caused its relevant

measure of costs for the output, ISPs sold to CPGs for placement in those retailers’

stores, to exceed the revenues generated by News in the sale of those outputs to

CPGs.



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    298.      There is a dangerous probability that News will succeed in excluding

competitors from the ISP market.

    299.      There is a dangerous probability that News will recoup its investment

in below-cost pricing by reducing the price of the input (aisle space in retailers’

stores) to monopsonistic levels and/or by increasing the price of the output (ISPs

sold to CPGs) to monopolistic levels.

    300.      In addition to and in combination with the cash guarantees, News

employs other anticompetitive practices to harm retailers, including (a) long-term,

exclusive contracts with staggered expiration dates; (b) right-of-first-refusal

contracts for new tactics; (c) refusing to remove its ISPs from retailers’ aisles when

it no longer has a contract with the retailer; (d) removing Valassis’ ISPs from

retailers’ stores; and (e) misrepresenting the breadth of News’ retailer network.

    301.      These anticompetitive practices, alone or in combination, suppress

competition on the merits by preventing retailers from contracting or bargaining

with other ISP providers.

    302.      News’ anticompetitive practices, alone or in combination, raise

barriers to entry into the ISP market by new competitors and discourage

innovation.

    303.      The effect of News anticompetitive practices is to preserve News’

monopoly power in the ISP market.



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             B.      Harm to CPGs Through Reduced Choice

    304.     News’ conduct harms CPGs by reducing CPGs’ choice and coercing

CPGs to choose FSIs from News based on the ISP penalty imposed on CPGs if

they choose Valassis as the CPG’s FSI-provider.

    305.     News’ conduct further reduces CPGs’ choice by forcing CPGs to

choose ISPs from News because no other ISP provider possesses the critical mass

of national and regional retailers to effectively compete with News’ retailer

network and thereby provide a comparable or viable alternative to News’ ISPs.

    306.     By preventing retailers from contracting with ISP providers offering

ISPs not offered by News (like the Wedge®), News limits the ISP offerings

available to CPGs.

    307.     News’ conduct suppresses competition on the merits in the FSI and

ISP markets. Certain CPGs would prefer to contract with Valassis, but they are

coerced into contracting with News based not on the merits of News’ products, but

on the financial penalties they would suffer if they contracted with Valassis.

    308.     If News’ conduct continues and forces Valassis eventually to exit the

FSI market or become competitively irrelevant, News will obtain a monopoly that

will allow News to increase FSI prices to all CPGs, even those that do not utilize

significant (or any) ISPs.




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    309.    If News’ conduct continues and forces Valassis eventually to exit the

ISP market, News will become the only national and regional ISP provider, which

will allow News to increase ISP prices to all CPGs, even those that purchase their

FSIs from News.

    310.    This anticompetitive conduct, alone or in combination, suppresses

competition on the merits by preventing CPGs from contracting or bargaining with

Valassis and raising barriers to entry into the ISP market by new competitors.

    311.    The effect is to preserve News’ monopoly power in the ISP market

and to maintain its dominance in the FSI market.

            C.     Harm to CPGs by Increased ISP Costs and Diminished ISP
                   Value

    312.    News’ conduct increases the price of ISPs paid by CPGs that purchase

their FSIs from Valassis.

    313.    News’ conduct increases the costs paid by CPGs when the CPG

purchases an ISP from Valassis.

    314.    By not removing its ISPs from a retailer no longer under contract with

News or by installing ISPs in a store under contract with Valassis, News

diminishes the value of the ISPs purchased by CPGs that are placed in competition

next to News’ ISPs.




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    315.       By removing Valassis’ ISPs from stores under contract with Valassis,

News interferes with CPGs’ ISP programs and prevents CPGs from obtaining the

full value of those programs.

    316.       News’ unlawful conduct allows it to maintain its dominance in the

FSI market. If News’ conduct continues and forces Valassis to eventually exit the

FSI market or become competitively irrelevant, News will obtain a monopoly that

will allow News to increase FSI prices to all CPGs, even those that do not utilize

significant (or any) ISPs.

    317.       If News’ conduct continues and forces Valassis eventually to exit the

ISP market, News will become the only national and regional ISP provider.

    318.       This will allow News to increase ISP prices to all CPGs, even those

that purchase their FSIs from News.

    319.       News’ anticompetitive conduct, alone or in combination, suppresses

competition on the merits by preventing CPGs from contracting or bargaining with

Valassis and raising barriers to entry into the ISP and FSI markets by new

competitors.

    320.       News’ anticompetitive conduct preserves News’ monopoly power in

the ISP market.

    321.       News’ anticompetitive conduct threatens to allow News to achieve

monopoly power in the FSI market.



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             D.    Harm to Consumers of CPGs’ Products

      322.   News’ anticompetitive conduct harms the consumers of CPGs’

products.

      323.   By limiting retailer and CPG choice (as described above), News

reduces consumer choices by reducing the output of FSI and ISP coupons and

advertising to consumers.

      324.   Because fewer coupons are available to consumers, they cannot

purchase CPGs’ products at lower prices, which results in consumers paying

higher prices than would exist in a competitive market.

XV.          ANTITRUST INJURY AND DAMAGE TO VALASSIS

      325.   Valassis, as a competitor of News in the FSI and ISP markets, has

suffered injury as the proximate result of News’ anticompetitive and unlawful

conduct.

      326.   News’ strategies have increased Valassis’ costs to operate in the FSI

and ISP markets.

      327.   They have also damaged Valassis’ business and reputation.

      328.   They have prevented CPGs and retailers from purchasing ISP

innovations developed by Valassis or sold by Valassis on behalf of other ISP

providers.




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    329.      News’ strategies have restrained competition by allowing News to

avoid competing with Valassis on price and quality of FSI and ISP services and

products.

    330.      News’ strategies have also allowed News to avoid competing on

innovations in the ISP market.

    331.      Valassis’ injury constitutes antitrust injury because it flows from that

which makes News’ acts unlawful, and is of the type the antitrust laws were

intended to prevent.

    332.      News’ unlawful conduct has the effect of foreclosing Valassis and

other competitors from competing on the merits with News for FSIs, ISPs, and

retailer aisle space.

    333.      News’ conduct prevents Valassis and other competitors from offering

ISP products within a retailer network that is comparable to News’ network.

    334.      In certain instances, Valassis is forced either to forego contracting

with CPGs or to match News’ FSI prices which, upon information and belief, are

set below News’ incremental costs.

    335.      Valassis is forced either to forego contracting with retailers or to pay

retailers the same or more than exorbitant and economically unjustified guarantees

paid by News, which cause News’ costs incurred in placing ISPs in those retailers’

stores to exceed the revenues News receives from CPGs for those ISPs.



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                                       COUNT I

                         Monopolization of the ISP Market
              Violation of Section 2 of the Sherman Act, 15 U.S.C. § 2

    336.      Plaintiff incorporates all previous paragraphs herein by reference.

    337.      News has monopolized the relevant market for the sale of ISPs in the

United States in violation of Section 2 of the Sherman Act, 15 U.S.C. § 2.

    338.      News has willfully and purposefully engaged in a pattern of

anticompetitive conduct designed to acquire or maintain market power in the relevant

ISP market.

    339.      News has monopsonized the input of the ISP market—access to

retailers’ aisle space—through, among other things, long-term, exclusive retailer

contracts with staggered expiration dates; right-of-first-refusal clauses for new ISP

tactics; and excluding access to the input by increasing the cost of the input

through cash guarantees paid to the retailers.

    340.      News has monopolized the output of the ISP market—sales of ISPs to

CPGs—through, among other things, long-term, exclusive contracts with CPGs;

preventing CPGs from utilizing the retailer network of News’ competitors; right-

of-first-refusal contracts; requirements contracts; and increased ISP prices for

CPGs that purchase FSIs from Valassis.

    341.      News has also monopolized the ISP market by, among other things,

removing Valassis’ ISP tactics from stores under contract with Valassis, refusing


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to remove News’ ISP tactics at stores under contract with Valassis, installing

News’ ISP tactics at stores under contract with Valassis, and misrepresenting the

breadth of News’ retailer network.

    342.     The ISP market is characterized by high barriers to competitive entry

and expansion.

    343.     News’ anticompetitive conduct, individually or taken as a whole, has

unlawfully excluded and suppressed competition for access to retailers’ aisle space

and the sale of ISPs to CPGs.

    344.     News’ conduct is intended to eliminate competition in the ISP market

and achieve a monopoly for News.

    345.     Valassis has suffered antitrust injury and damage as the proximate

result of News’ unlawful conduct.

    346.     If unabated by this Court, News’ actions will continue to cause

increasing harm to competition in the ISP market.

                                     COUNT II
                Predatory Pricing in the ISP Market (Retailers)
            Violation of Section 2 of the Sherman Act, 15 U.S.C. § 2

    347.     Plaintiff incorporates all previous paragraphs herein by reference.

    348.     Valassis and News are competitors in the ISP market.




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    349.     News has willfully and purposefully engaged in predatory pricing

designed to monopolize the ISP market in violation of Section 2 of the Sherman Act,

15 U.S.C. § 2.

    350.     News offers predatory cash payments or “guarantees” to certain

retailers for access to the retailers’ aisle space, the relevant input, in order to

prevent the retailers from awarding input contracts to Valassis.

    351.     Upon information and belief, the guarantees have caused News’

incremental cost of the relevant output, ISPs sold to CPGs for placement in those

retailers’ stores, to exceed News’ revenues generated in the sale of those outputs to

CPGs.

    352.     Further, there is a dangerous probability that News, after successfully

driving out or excluding competition in the ISP market, will recoup the losses it

incurred in driving up input prices either by exercising monopsony power over the

input and forcing retailers to accept prices below the levels that would prevail in a

competitive market, and/or by exercising monopoly power in the output market

and raising output prices to monopolistic levels.

    353.     Competition in the ISP market as a whole is damaged by News’

predatory pricing.

    354.     The ISP market is characterized by high barriers to competitive entry

and expansion.



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    355.     News’ anticompetitive conduct has unlawfully excluded and

suppressed competition for access to retailers’ aisle space and the sale of ISPs to

CPGs.

    356.     Valassis has suffered antitrust injury and damage as the proximate

result of News’ unlawful conduct.

    357.     Valassis needs access to retailers’ aisle space in order to place its

ISPs, purchased by CPGs, within the retailers’ stores.

    358.     News’ predatory cash guarantees prevent Valassis from being able to

obtain a critical mass of retailers at which Valassis can place its ISPs.

    359.     Without access to retailers’ aisles, Valassis is unable to offer CPGs an

ISP product that is a viable alternative to News’ ISPs, and Valassis cannot

effectively compete with News or maintain any significant ISP market share.

    360.     News’ conduct is intended to eliminate competition in the ISP market

and achieve a monopoly for News.

    361.     By driving Valassis from the market through the use of

anticompetitive tactics, News will become the only national and regional provider

of ISPs.

    362.     If unabated by this Court, News’ actions will continue to cause

increasing harm to competition in the ISP market.




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                                    COUNT III
                     Attempt to Monopolize the FSI Market
             Violation of Section 2 of the Sherman Act, 15 U.S.C. § 2

    363.     Plaintiff incorporates all previous paragraphs herein by reference.

    364.     News has willfully and purposefully engaged in a pattern of

anticompetitive conduct designed to monopolize the FSI market in violation of

Section 2 of the Sherman Act, 15 U.S.C. § 2.

    365.     News’ actions manifest a specific intent to monopolize (and thereby

eliminate competition in) the FSI market.

    366.     News has attempted to monopolize the FSI market by utilizing,

among other things, pricing schemes that make it economically unviable for CPGs

to purchase FSIs from Valassis; long-term, exclusive contracts with CPGs; right-

of-first-refusal contracts that prevent CPGs from negotiating with Valassis for their

FSIs; requirements contracts; and threats to sue Valassis for responding to proposal

requests submitted by purchasers of FSIs.

    367.     News’ anticompetitive conduct, individually or taken as a whole, has

unlawfully excluded and suppressed competition for the sale of FSIs to CPGs in

the FSI market.

    368.     News’ conduct has foreclosed competition in 65% of the FSI market.

    369.     News’ conduct is intended to eliminate competition in the FSI market

and achieve a monopoly for News.


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    370.     The FSI market is characterized by high barriers to competitive entry

and expansion.

    371.     If allowed to continue, News has a dangerous probability of achieving a

monopoly as News has already gained substantial market share in the FSI market,

News has used anticompetitive tactics to maintain its market share, the FSI market is

highly concentrated, and the barriers to entry are high.

    372.     Valassis has suffered antitrust injury and damage as the proximate

result of News’ unlawful conduct.

    373.     If unabated by this Court, News’ actions will continue to cause

increasing harm to competition in the ISP market.

                                      COUNT IV
                Exclusive Dealing in the ISP Market (Retailers)
    Violation of Sections 1 and 2 of the Sherman Act, 15 U.S.C. §§ 1 and 2,
                and Section 3 of the Clayton Act, 15 U.S.C. § 14

    374.     Plaintiff incorporates all previous paragraphs herein by reference.

    375.     News has unlawfully restrained trade and has willfully and purposefully

engaged in a pattern of anticompetitive conduct designed to acquire or maintain a

monopoly in the relevant ISP market in violation of Sections 1 and 2 of the Sherman

Act, 15 U.S.C. §§ 1 and 2; and Section 3 of the Clayton Act, 15 U.S.C. § 14.

    376.     News has restrained trade and monopsonized the relevant input to the

ISP market by limiting competitors’ access to retailers’ aisle space by utilizing



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long-term, exclusive retailer contracts with staggered expiration dates and right-of-

first-refusal clauses for new ISP tactics.

    377.     News’ anticompetitive conduct, individually or taken as a whole, has

unlawfully excluded and suppressed competition for access to retailers’ aisle space

and the sale of ISPs to CPGs.

    378.     News’ contracts have foreclosed competition for approximately 83%

of the ACV of grocery stores, 84% of the ACV of drug stores, and 61.2% of the

ACV of dollar stores within the ISP market.

    379.     The anticompetitive effects of News’ contracts with retailers outweigh

their procompetitive benefits, if any.

    380.     News’ conduct is intended to eliminate competition in the ISP market

and achieve a monopoly for News.

    381.     The ISP market is characterized by high barriers to competitive entry

and expansion.

    382.     Valassis has suffered antitrust injury and damage as the proximate

result of News’ unlawful conduct.

    383.     If unabated by this Court, News’ actions will continue to cause

increasing harm to competition in the ISP market.




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                                         COUNT V
                 Exclusive Dealing in the ISP Market (CPGs)
    Violation of Sections 1 and 2 of the Sherman Act, 15 U.S.C. §§ 1 and 2,
                and Section 3 of the Clayton Act, 15 U.S.C. § 14

    384.     Plaintiff incorporates all previous paragraphs herein by reference.

    385.     News has unlawfully restrained trade and has willfully and purposefully

engaged in a pattern of anticompetitive conduct designed to acquire or maintain a

monopoly in the relevant ISP market in violation of Sections 1 and 2 of the Sherman

Act, 15 U.S.C. §§ 1 and 2; and Section 3 of the Clayton Act, 15 U.S.C. § 14.

    386.     News has restrained trade and monopolized or attempted to

monopolize the ISP market through long-term, exclusive requirements contracts

with CPGs that contain right-of-first-refusal clauses.

    387.     News’ anticompetitive conduct, individually or taken as a whole, has

unlawfully excluded and suppressed competition for the sale of ISPs to CPGs.

    388.     News’ long-term, exclusive requirements contracts have foreclosed

competition in at least 70% to 85% of the ISP market.

    389.     The anticompetitive effects of News’ contracts with retailers outweigh

their procompetitive benefits, if any.

    390.     News’ conduct is intended to eliminate competition in the ISP market

and achieve a monopoly for News.




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    391.     The ISP market is characterized by high barriers to competitive entry

and expansion.

    392.     Valassis has suffered antitrust injury and damage as the proximate

result of News’ unlawful conduct.

    393.     If unabated by this Court, News’ actions will continue to cause

increasing harm to competition in the ISP market.

                                     COUNT VI
                 Exclusive Dealing in the FSI Market (CPGs)
    Violation of Sections 1 and 2 of the Sherman Act, 15 U.S.C. §§ 1 and 2,
                and Section 3 of the Clayton Act, 15 U.S.C. § 14

    394.     Plaintiff incorporates all previous paragraphs herein by reference.

    395.     News has unlawfully restrained trade and has willfully and purposefully

engaged in a pattern of anticompetitive conduct designed to acquire a monopoly in the

relevant FSI market in violation of Sections 1 and 2 of the Sherman Act, 15 U.S.C. §§

1 and 2, and Section 3 of the Clayton Act, 15 U.S.C. § 14.

    396.     News has restrained trade and attempted to monopolize the FSI

market through long-term, exclusive contracts with CPGs, right-of-first-refusal

contracts, and requirements contracts.

    397.     News’ anticompetitive conduct, individually or taken as a whole, has

unlawfully excluded and suppressed competition for the sale of FSIs to CPGs.




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    398.     News’ long-term, exclusive, right-of-refusal, requirements contracts

with CPGs have foreclosed competition in at least 65% of the ISP market.

    399.     The anticompetitive effects of News’ contracts with retailers outweigh

their procompetitive benefits, if any.

    400.     News’ conduct is intended to eliminate competition in the FSI market

and achieve a monopoly for News.

    401.     The FSI market is characterized by high barriers to competitive entry

and expansion.

    402.     Valassis has suffered antitrust injury and damage as the proximate

result of News’ unlawful conduct.

    403.     If unabated by this Court, News’ actions will continue to cause

increasing harm to competition in the FSI market.

                                     COUNT VII
                                    Bundling
     Violation of Sections 1 and 2 of the Sherman Act, 15 U.S.C. § 1 and 2,
                and Section 3 of the Clayton Act, 15 U.S.C. § 14

    404.     Plaintiff incorporates all previous paragraphs herein by reference.

    405.     News has unlawfully restrained trade and has willfully and purposefully

engaged in a pattern of anticompetitive conduct designed to acquire a monopoly in the

relevant FSI market in violation of Sections 1 and 2 of the Sherman Act, 15 U.S.C. §§

1 and 2; and Section 3 of the Clayton Act, 15 U.S.C. § 14.



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    406.     News has unlawfully bundled FSIs and ISPs.

    407.     After allocating all discounts and rebates attributable to the entire

bundle of products to the competitive product, FSIs, News has sold FSIs below

their incremental cost, defined as the sum of the cost of goods sold in accounting

usage, marketing and/or distribution costs, research and development costs

reasonably attributable to FSIs, and other costs shown to be directly avoidable if a

unit of output of FSIs were not produced.

    408.     The effect of News’ bundles is to lessen competition substantially in

the market for FSIs and foreclose competition in at least 65% of the FSI market.

    409.     Valassis is unable to offer CPGs a competitive or economically

equivalent bundle of ISPs and FSIs because News has prevented Valassis from

contracting with retailers for access to the retailers’ aisle space.

    410.     By preventing Valassis from contracting with retailers, News has

prevented Valassis from obtaining a critical mass or network of retailers at which

Valassis can place ISPs.

    411.     The result is that Valassis’ retailer network is much smaller than

News’ network of retailers.

    412.     News has thus prevented Valassis from possessing a significant and

effective product that can be sold in competition with News’ bundle of FSIs and




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ISPs and that is reasonably capable of providing CPGs with an economically

equivalent value.

    413.     Valassis does not sell FSIs in combination with another product or

products such that the combination overlaps substantially with News’ bundle of

FSIs and ISPs and is reasonably capable of providing CPGs with economically

equivalent value.

    414.     The probable effect of News’ bundling of FSIs and ISPs is to lessen

competition substantially in the FSI market.

    415.     News’ conduct is intended to eliminate competition in the FSI market

and achieve a monopoly for News.

    416.     If allowed to continue its conduct, News has a dangerous probability of

achieving a monopoly, as News has already gained substantial market share in the FSI

market, News has used anticompetitive tactics to maintain its market share, the FSI

market is highly concentrated, and the barriers to entry are high.

    417.     Valassis has suffered antitrust injury and damage as the proximate

result of News’ unlawful conduct.

    418.     News America’s conduct violates the Order (Dkt. #412) entered in

Valassis I, which prohibits News America’ unlawful bundling of any products.




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    419.     Accordingly, Valassis also is filing a motion seeking expedited

discovery of News America’s bundling of FSIs and ISPs in Valassis I, in accordance

with the Order.

    420.     Valassis’ claims against News America for its unlawful bundling of FSIs

and ISPs, as alleged in the motion seeking expedited discovery, are being pleaded

here in the alternative to the relief allowed under the Order.

    421.     They also are being pleaded here because News Corporation was not a

named as a defendant in Valassis I.

    422.     Valassis seeks damages from News Corporation for unlawful bundling.

    423.     If unabated by this Court, News’ actions will continue to cause

increasing harm to competition in the ISP market.

                                      COUNT VIII
                                       Tying
            Violation of Section 1 of the Sherman Act, 15 U.S.C. § 1,
                and Section 3 of the Clayton Act, 15 U.S.C. § 14

    424.     Plaintiff incorporates all previous paragraphs herein by reference.

    425.     News has unlawfully restrained trade and has willfully and purposefully

engaged in a pattern of anticompetitive conduct designed to acquire a monopoly in the

relevant FSI market in violation of Sections 1 and 2 of the Sherman Act, 15 U.S.C. §§

1 and 2; and Section 3 of the Clayton Act, 15 U.S.C. § 14.




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    426.     News has unlawfully tied purchases of ISPs (the tying product) to

purchases of FSIs (the tied product).

    427.     ISPs and FSIs are separate products and services.

    428.     Due to the unique characteristics of each, FSIs and ISPs have a low

cross-elasticity of demand and are not reasonably interchangeable with each other or

with other services or products.

    429.     News prices FSIs and ISPs, when purchased separately, such that the

CPG has no economically practical option other than to participate in the tying

arrangement and purchase FSIs and ISPs from News.

    430.     Further, News has sufficient economic power in the market for ISPs in

the United States to restrain competition in the FSI market appreciably.

    431.     News’ share of the ACV of grocery, drug, and dollar stores is

approximately 83%, 84% and 61.2% respectively.

    432.     The tying arrangements affect a substantial volume of commerce in

the FSI market, comprising numerous transactions that have value in the millions of

dollars, such that the foreclosure caused thereby produces anticompetitive effects in

the FSI market, and/or the arrangement presents a substantial threat that News will

acquire market power in the FSI market.

    433.     The effect of News’ bundles is to lessen competition substantially in

the market for FSIs and foreclose competition in at least 65% of the FSI market.



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    434.     The tying of FSIs and ISPs does not achieve any efficiency gains that

benefit CPGs, such as increased quality, significantly lower costs, or the introduction

of new or better products.

    435.     If any efficiency does exist, the efficiencies do not substantially

outweigh the competitive harms caused by News’ tying arrangement.

    436.     Valassis has suffered antitrust injury and damage as the proximate

result of News’ unlawful conduct.

    437.     News America’s conduct violates the Order (Dkt. #412) entered in

Valassis I, which prohibits News America’ unlawful tying of any products.

    438.     Accordingly, Valassis also is filing a motion seeking expedited

discovery of News America’s tying of FSIs and ISPs in Valassis I, in accordance with

the Order.

    439.     Valassis’ claims against News America for its unlawful tying of FSIs

and ISPs, as alleged in the motion seeking expedited discovery, are being pleaded

here in the alternative to the relief allowed under the Order.

    440.     They also are being pleaded here because News Corporation was not a

named as a defendant in Valassis I.

    441.     Valassis seeks damages from News Corporation for unlawful tying.

    442.     If unabated by this Court, News’ actions will continue to cause

increasing harm to competition in the ISP market.



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                                     COUNT IX
                   Violation of Michigan Antitrust Reform Act,
                           M.C.L. §§ 445.772 and 445.773

    443.     Plaintiff incorporates all previous paragraphs herein by reference.

    444.     Defendants’ actions as alleged herein violate Sections 2 and 3 of the

Michigan Antitrust Reform Act, M.C.L. §§ 445.772 and 445.773.

    445.     News’ coercive conduct violates the Michigan Antitrust Reform Act

by bundling FSIs and ISPs; tying of the purchases of ISPs to purchases of FSIs;

using of long-term, exclusive retailer contracts with staggered expiration dates and

right-of-first-refusal clauses for new ISP tactics; paying predatory and exclusionary

cash guarantees to retailers; using long-term, exclusive requirements ISP contracts

with CPGs that contain right-of-first-refusal clauses; using long-term, exclusive

FSI contracts with CPGs, right-of-first-refusal contracts, and requirements

contracts; improperly maintaining News ISP monopoly; and attempting to

monopolize the FSI market.

    446.     News’ unfair and deceptive conduct has injured competition, forced

Valassis to either forgo business or match the below cost and predatory prices that

News charges certain CPGs and retailers, and suppressed competition by reducing the

choices available to CPGs while allowing News to charge certain CPGs unlawful

monopoly prices.

    447.     News has flagrantly violated the Michigan Antitrust Reform Act.


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    448.      Valassis has suffered antitrust injury and damage in the state of

Michigan as the proximate result of News’ unlawful conduct.

                                      COUNT X
                          Violation of Cartwright Act,
                Ca. Bus. & Prof. Code §§ 16720, 16726, and 16727

    449.      Plaintiff incorporates all previous paragraphs herein by reference.

    450.      Valassis and News are each engaged in commerce in and affecting the

state of California.

    451.      Defendants’ actions as alleged herein violate the Cartwright Act, Ca.

Bus. & Prof. Code §§ 16720, 16726 and 16727.

    452.      News’ coercive conduct violates the Cartwright Act by bundling FSIs

and ISPs; tying of the purchases of ISPs to purchases of FSIs; using of long-term,

exclusive retailer contracts with staggered expiration dates and right-of-first-

refusal clauses for new ISP tactics; paying predatory and exclusionary cash

guarantees to retailers; using long-term, exclusive requirements ISP contracts with

CPGs that contain right-of-first-refusal clauses; using long-term, exclusive FSI

contracts with CPGs, right-of-first-refusal contracts, and requirements contracts;

improperly maintaining News ISP monopoly; and attempting to monopolize the

FSI market.

    453.      News’ conduct has injured competition, forced Valassis to either forgo

business or match the below cost and predatory prices that News charges certain


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CPGs and retailers, and suppressed competition by reducing the choices available to

CPGs while allowing News to charge certain CPGs unlawful monopoly prices.

    454.       Valassis has suffered antitrust injury and damage in the state of

California as the proximate result of News’ unlawful conduct.

                                       COUNT XI
              Violation of California Unfair Trade Practices Act,
            Ca. Bus. & Prof. Code §§ 17043, 17044, 17070, and 17071

    455.       Plaintiff incorporates all previous paragraphs herein by reference.

    456.       Valassis and News are each engaged in commerce in and affecting the

state of California.

    457.       Defendants’ actions as alleged herein violate the California Unfair

Practices Act, Ca. Bus. & Prof. Code §§ 17043, 17044, 17070, and 17071.

    458.       News has sold FSIs at less than its costs, as defined in Ca. Bus. &

Prof. Code § 17026, for the purpose of injuring competitors and destroying

competition.

    459.       News America bundles FSIs and ISPs in order to discourage CPGs

from purchasing FSIs from Valassis, and to injure Valassis and destroy

competition.

    460.       Based on analysis conducted in Valassis I, News’ average FSI billing

rate was approximately $4.42 prior to the parties’ settlement in 2010.




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    461.     Upon information and belief, News’ average FSI billing rate today is

approximately 10% lower today, or about $3.98.

    462.     Based on analysis conducted in Valassis I, News’ average FSI cost

was approximately $3.27 prior to the parties’ settlement in 2010.

    463.     Upon information and belief, News’ average FSI cost today is

approximately $3.20 to $3.27.

    464.     Based on analysis conducted in Valassis I, News’ FSI rates, after

allocating all discounts and rebates attributable to the entire bundle of products to

FSIs, were in the range of $1.12 to $3.12.

    465.     Today, upon information and belief, News’ FSI rates, after allocating

all discounts and rebates attributable to the entire bundle of FSI and ISP products

to FSIs, is below News’ costs.

    466.     News sells FSIs below its cost of FSIs with the purpose to induce or

encourage CPGs to purchase FSIs from News rather than Valassis, and with the

effect of diverting trade from and injuring Valassis, and destroying competition.

    467.     News’ unfair and deceptive conduct has injured competition, forced

Valassis to either forgo business or match the below cost and predatory prices News

charges certain CPGs and retailers, and suppressed competition by reducing the

choices available to CPGs while allowing News to charge certain CPGs unlawful

monopoly prices.



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    468.      News’ unlawful conduct has allowed News to perpetuate its

monopoly in the ISP market and threatens to create a monopoly in the FSI market.

    469.      Valassis has suffered antitrust injury and damage in the state of

California as the proximate result of News’ unlawful conduct.

                                     COUNT XII
                                 Unfair Competition

    470.      Plaintiff incorporates all previous paragraphs herein by reference.

    471.      Valassis and News each are engaged in commerce in and affecting the

state of Michigan through their sales and distribution of advertisements in the FSI

and ISP markets.

    472.      News has engaged in unfair and deceptive trade practices.

    473.      Specifically, News’ actions are anticompetitive, unethical, and

oppressive.

    474.      News’ actions, described above, have caused significant damage to

Valassis in the form of lost sales and profits.

    475.      News’ actions, if unabated by this Court, pose the dangerous risk of

continued harm to the competitive market and, ultimately, to consumers.

                                     COUNT XIII
                               Tortious Interference
                               with Contracts (CPGs)

    476.      Plaintiff incorporates all previous paragraphs herein by reference.



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    477.       Valassis, as described above, had contracts with hundreds of CPGs to

whom Valassis sells FSIs and ISPs.

    478.       News is, and at all pertinent times was, aware of the contracts between

Valassis and these CPGs.

    479.       News has intentionally and unlawfully interfered with the contracts

between Valassis and the CPGs by the acts described above.

    480.       News’ actions were intended to, and did, interfere with Valassis’

contracts with CPGs, causing their causing their disruption, termination, or other

similar act.

    481.       CPGs who have used and would otherwise continue to use Valassis as

their FSI or ISP provider have been unlawfully coerced by News to disrupt,

terminate, or otherwise not perform under their contracts with Valassis and to place

their FSIs with News, or to use News as their ISP provider.

    482.       Valassis has suffered significant financial harm as a direct and

proximate result of News’ wrongful conduct.

                                      COUNT XIV
                               Tortious Interference
                with Business Relationships or Expectancies (CPGs)

    483.       Plaintiff incorporates all previous paragraphs herein by reference.

    484.       Valassis has business relationships with hundreds of CPGs to whom

Valassis sells or proposes to sell FSIs and ISPs.


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    485.     Valassis also has reasonable business expectancies with hundreds of

CPGs to whom Valassis proposes to sell FSIs and ISPs.

    486.     News is, and at all pertinent times was, aware of the relationships

and/or expectancies between Valassis and these CPGs.

    487.     News has intentionally and unlawfully interfered with the

relationships between Valassis and the CPGs by the acts described above.

    488.     News’ actions have caused the CPGs to terminate or alter their

business relationships or expected relationships with Valassis.

    489.     CPGs who have used and would otherwise continue to use Valassis as

their FSI or ISP provider have been unlawfully coerced by News to place their

FSIs with News, or to use News as their ISP provider.

    490.     The termination of these business relationships and expectancies has

caused significant financial harm to Valassis.

                                      COUNT XV
                                  Tortious Interference
                                with Contracts (Retailers)

    491.     Plaintiff incorporates all previous paragraphs herein by reference.

    492.     Valassis had contracts with hundreds of retailers to whom Valassis

paid for access to the retailer’s aisle space.

    493.     News is, and at all pertinent times was, aware of the contracts between

Valassis and these retailers.


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    494.     News has intentionally and unlawfully interfered with the contracts

between Valassis and the retailers by the acts described above.

    495.     News’ actions as described above were intended to, and did, interfere

with Valassis’ contracts with retailers, causing their disruption, termination, or

other similar act.

    496.     Retailers who have used and would otherwise continue to use Valassis

as the ISP provider within their stores have been unlawfully coerced by News to

disrupt, terminate or otherwise not perform under their contracts with Valassis and

to use News as the ISP provider within their stores.

    497.     Valassis has suffered significant financial harm as a direct and

proximate result of News’ wrongful conduct.

                                    COUNT XVI
                             Tortious Interference
             with Business Relationships or Expectancies (Retailers)

    498.     Plaintiff incorporates all previous paragraphs herein by reference.

    499.     Valassis has business relationships with hundreds of retailers to whom

Valassis paid or would have paid for access to the retailers’ aisle space and/or to

whom Valassis sold or would have other advertising and promotional products.

    500.     Valassis also has reasonable business expectancies with hundreds of

retailers from whom Valassis proposes to purchase access to the retailers’ aisle

space and/or to whom Valassis sold or would have other advertising and


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promotional products.

    501.     News is, and at all pertinent times was, aware of the relationships

and/or expectancies between Valassis and these retailers.

    502.     News has intentionally and unlawfully interfered with the

relationships between Valassis and the retailers by the acts described above.

    503.     News’ actions have caused the retailers to terminate or alter their

business relationships or expected relationships with Valassis.

    504.     Retailers who have used and would otherwise continue to sell access

to their aisle space to Valassis have been unlawfully coerced by News to sell aisle

space to News.

    505.     Retailers who have used and would otherwise continue to purchase

advertising and promotional products from Valassis have been unlawfully coerced

by News to purchase advertising and promotional products from News.

    506.     The termination of these business relationships and expectancies has

caused significant financial harm to Valassis.

                         PRAYER FOR RELIEF

      WHEREFORE, Valassis respectfully requests that this Honorable Court:

      A.     Declare that News’ conduct constitutes:

             (1)   Violations of Sections 1 and 2 of the Sherman Act, 15 U.S.C.
                   §§ 1 and 2;

             (2)   Violations of Section 3 of the Clayton Act, 15 U.S.C. § 14;

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     (3)   Violations of the Michigan Antitrust Reform Act, M.C.L. §§
           445.772 and 445.773;

     (4)   Violations of the Cartwright Act, Ca. Bus. & Prof. Code §§
           16720, 16726, and 16727;

     (5)   Unfair Competition;

     (6)   California Unfair Practices Act, Ca. Bus. & Prof. Code §§ 17043,
           17044, 17070, and 17071;

     (7)   Tortious Interference with Contracts; and

     (8)   Tortious Interference with Business Relationships or
           Expectancies;

B.   Enter judgment in favor of Valassis against News;

C.   Permanently enjoin the conduct described above of News and their

     agents and employees;

D.   Award Valassis its actual damages suffered as a result of News’

     unlawful acts and agreements in the FSI and ISP markets in an

     amount in excess of $560 million, as provided in 15 U.S.C. §15,

     M.C.L. § 445.778, and Ca. Bus. & Prof. Code §§ 16750 and 17082;

E.   Award Valassis three times its actual damages, as provided in 15

     U.S.C. §15, M.C.L. § 445.778, and Ca. Bus. & Prof. Code §§ 16750

     and 17082;




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     F.    Award Valassis its costs and attorney fees, as provided in 15 U.S.C. §

           15, M.C.L. § 445.778, and Ca. Bus. & Prof. Code §§ 16750 and

           17082;

     G.    Award Valassis interest, as provided in 15 U.S.C. § 15, M.C.L. §

           445.778, and Ca. Bus. & Prof. Code § 16761; and

     H.    Grant any other relief that this Court deems appropriate, just, and

           equitable.

                             JURY DEMAND

     Plaintiff requests a trial by jury on all causes of action.

                         Respectfully submitted,

                         MILLER, CANFIELD, PADDOCK & STONE, PLC

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                                Attorneys for Plaintiff
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Dated: November 8, 2013


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                           CERTIFICATE OF SERVICE

       I hereby certify that on November 8, 2013, I electronically filed the
foregoing paper with the Clerk of the Court using the ECF system which will send
notification of such filing to all attorneys of record.


                           MILLER, CANFIELD, PADDOCK & STONE, PLC

                           By: s/ A. Michael Palizzi
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JS 44 (Rev. 12/12)                                                           CIVIL COVER SHEET                                                                                          x
                                                                                                                                                          County in which action arose _______________
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                              DEFENDANTS
Valassis Communications, Inc.                                                                                 News Corporation; News America Marketing; News America Marketing FSI, LLC;
                                                                                                              News America Marketing In-Store Services, LLC

    (b) County of Residence of First Listed Plaintiff               Wayne                                      County of Residence of First Listed Defendant
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                               NOTE:     IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                    Attorneys (If Known)
Miller, Canfield, Paddock and Stone, P.L.C.
150 W. Jefferson Ave., Suite 2500, Detroit, MI 48226, (313) 963-6420
(see attachment for complete list of attorneys)

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                            and One Box for Defendant)
# 1    U.S. Government                # 3     Federal Question                                                                     PTF           DEF                                           PTF      DEF
         Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State         # 1           # 1       Incorporated or Principal Place      # 4      # 4
                                                                                                                                                             of Business In This State

# 2    U.S. Government                # 4     Diversity                                              Citizen of Another State          # 2       #    2    Incorporated and Principal Place     # 5      # 5
         Defendant                              (Indicate Citizenship of Parties in Item III)                                                                 of Business In Another State

                                                                                                     Citizen or Subject of a           # 3       #    3    Foreign Nation                       # 6      # 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)
           CONTRACT                                                TORTS                                 FORFEITURE/PENALTY                          BANKRUPTCY                      OTHER STATUTES
#   110 Insurance                        PERSONAL INJURY                 PERSONAL INJURY             # 625 Drug Related Seizure             # 422 Appeal 28 USC 158            #   375 False Claims Act
#   120 Marine                       #   310 Airplane                  # 365 Personal Injury -             of Property 21 USC 881           # 423 Withdrawal                   #   400 State Reapportionment
#   130 Miller Act                   #   315 Airplane Product                Product Liability       # 690 Other                                  28 USC 157                   #   410 Antitrust
#   140 Negotiable Instrument                 Liability                # 367 Health Care/                                                                                      #   430 Banks and Banking
#   150 Recovery of Overpayment      #   320 Assault, Libel &                Pharmaceutical                                                   PROPERTY RIGHTS                  #   450 Commerce
        & Enforcement of Judgment             Slander                        Personal Injury                                                # 820 Copyrights                   #   460 Deportation
#   151 Medicare Act                 #   330 Federal Employers’              Product Liability                                              # 830 Patent                       #   470 Racketeer Influenced and
#   152 Recovery of Defaulted                 Liability                # 368 Asbestos Personal                                              # 840 Trademark                            Corrupt Organizations
        Student Loans                #   340 Marine                          Injury Product                                                                                    #   480 Consumer Credit
        (Excludes Veterans)          #   345 Marine Product                  Liability                             LABOR                        SOCIAL SECURITY                #   490 Cable/Sat TV
#   153 Recovery of Overpayment               Liability                 PERSONAL PROPERTY            #   710 Fair Labor Standards           #   861 HIA (1395ff)               #   850 Securities/Commodities/
        of Veteran’s Benefits        #   350 Motor Vehicle             # 370 Other Fraud                      Act                           #   862 Black Lung (923)                    Exchange
#   160 Stockholders’ Suits          #   355 Motor Vehicle             # 371 Truth in Lending        #   720 Labor/Management               #   863 DIWC/DIWW (405(g))         #   890 Other Statutory Actions
#   190 Other Contract                       Product Liability         # 380 Other Personal                   Relations                     #   864 SSID Title XVI             #   891 Agricultural Acts
#   195 Contract Product Liability   #   360 Other Personal                  Property Damage         #   740 Railway Labor Act              #   865 RSI (405(g))               #   893 Environmental Matters
#   196 Franchise                            Injury                    # 385 Property Damage         #   751 Family and Medical                                                #   895 Freedom of Information
                                     #   362 Personal Injury -               Product Liability                Leave Act                                                                 Act
                                             Medical Malpractice                                     #   790 Other Labor Litigation                                            #   896 Arbitration
        REAL PROPERTY                      CIVIL RIGHTS                 PRISONER PETITIONS           #   791 Employee Retirement              FEDERAL TAX SUITS                #   899 Administrative Procedure
#   210 Land Condemnation            #   440 Other Civil Rights          Habeas Corpus:                      Income Security Act            # 870 Taxes (U.S. Plaintiff                Act/Review or Appeal of
#   220 Foreclosure                  #   441 Voting                    # 463 Alien Detainee                                                        or Defendant)                       Agency Decision
#   230 Rent Lease & Ejectment       #   442 Employment                # 510 Motions to Vacate                                              # 871 IRS—Third Party              #   950 Constitutionality of
#   240 Torts to Land                #   443 Housing/                        Sentence                                                             26 USC 7609                          State Statutes
#   245 Tort Product Liability               Accommodations            # 530 General
#   290 All Other Real Property      #   445 Amer. w/Disabilities -    # 535 Death Penalty                 IMMIGRATION
                                             Employment                  Other:                      # 462 Naturalization Application
                                     #   446 Amer. w/Disabilities -    # 540 Mandamus & Other        # 465 Other Immigration
                                             Other                     # 550 Civil Rights                  Actions
                                     #   448 Education                 # 555 Prison Condition
                                                                       # 560 Civil Detainee -
                                                                             Conditions of
                                                                             Confinement
V. ORIGIN (Place an “X” in One Box Only)
# 1 Original             # 2 Removed from                 # 3         Remanded from             # 4 Reinstated or       # 5 Transferred from               # 6 Multidistrict
    Proceeding               State Court                              Appellate Court               Reopened                Another District                   Litigation
                                                                                                                                (specify)
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                          Sherman Act, 15 U.S.C. 1 and 2; Clayton Act, 15 U.S.C. 14, 15(a) and 26
VI. CAUSE OF ACTION                       Brief description of cause:
                                          Monopolization, predatory pricing, exclusive dealing, and bundling and tying in the free-standing insert and in-store program markets.
VII. REQUESTED IN                         # CHECK IF THIS IS A CLASS ACTION                     DEMAND $                                     CHECK YES only if demanded in complaint:
     COMPLAINT:                                UNDER RULE 23, F.R.Cv.P.                                                                      JURY DEMAND:         # Yes      # No
VIII. RELATED CASE(S)
                                             (See instructions):
      IF ANY                                                          JUDGE          Tarnow                                                     DOCKET NUMBER               06-10240
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
November 8, 2013
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                     APPLYING IFP                                      JUDGE                              MAG. JUDGE
                         Case 1:17-cv-07378-PKC Document 1 Filed 11/08/13 Page 89 of 89
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